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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            CASE NO. CR17-111-JCC

 9                              Plaintiff,                ORDER DIRECTING THE PARTIES
               v.                                         TO SUPPLEMENT THE RECORD
10
     JESSICA L. ASHBY,
11
                                Defendant.
12

13             This matter comes before the Court on defendant Jessica Ashby’s June 8, 2017 motion

14   for release from pretrial detention. Dkt. 35. Defendant seeks to be released from pretrial

15   detention to accommodate addiction and pregnancy needs. Specifically, Ms. Ashby was recently

16   diagnosed by her obstetrician with placenta previa, a condition that makes her pregnancy high-

17   risk. Id. at 3. Defendant requests that she be released from the Federal Detention Center on

18   condition that she complete twenty-six days of in-patient treatment for substance abuse and

19   assume residency with her family. Id. at 4. However, defendant does not explain why her high-

20   risk pregnancy would necessitate release.

21             The Court, having considered the motion and the relevant record, hereby ORDERS the

22   defendant to supplement the record by no later than Friday, July 7, 2017, to address how the

23   risks associated with her pregnancy will be exacerbated by remaining in the Federal Detention

24   Center.

     ORDER DIRECTING THE PARTIES TO
     SUPPLEMENT THE RECORD - 1
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 1          The Court further ORDERS plaintiff United States to address whether the Federal

 2   Detention Center is equipped with adequate resources to accommodate Ms. Ashby’s medical

 3   condition, placenta previa, should she remain in federal custody, by no later than Friday, July

 4   14, 2017.

 5          The Clerk is directed to send copies of this order to the parties and to the Honorable John

 6   C. Coughenour.

 7          Dated this 28th day of June, 2017.

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                                                  JAMES P. DONOHUE
10                                                Chief United States Magistrate Judge

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     ORDER DIRECTING THE PARTIES TO
     SUPPLEMENT THE RECORD - 2
